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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 JANE DOE, individually, and on behalf of all
 others similarly situated,
                                                         Case No. 2:08-CV-12719
                 Plaintiff,
                                                         Honorable Stephen J. Murphy III
 v.                                                      Magistrate Judge Michael J. Hluchaniuk

 CIN-LAN, INC.; DÉJÀ VU CONSULTING,
 INC.; and HARRY V. MOHNEY,

             Defendants.
 _________________________________________/



                  MOTION TO INTERVENE ON BEHALF OF PLAINTIFF
              CLASS MEMBERS IN CERTIFIED CALIFORNIA CLASS ACTIONS

         Proposed Intervenors, Plaintiff class members in Arfat, et. al. v. Coldwater, LLC, d/b/a

 Déjà vu of North Hollywood, No. BC367362, Superior Court, County Los Angeles, and Hills, et.

 al. v. HDV #3 and Cathay Entertainment, d/b/a Déjà vu Showgirls City of Industry, No.

 BC385610, Superior Court, County Los Angeles, through undersigned counsel, state for their

 motion as follows:

         1.      Proposed Intervenors are Plaintiff class members in two class actions certified by

 state courts in California wherein claims nearly identical to those stated herein have been

 asserted: Arfat, et. al. v. Coldwater, LLC, d/b/a Déjà vu of North Hollywood, No. BC367362,

 Superior Court, County Los Angeles, and Hills, et. al. v. HDV #3 and Cathay Entertainment,

 d/b/a Déjà vu Showgirls City of Industry, No. BC385610, Superior Court, County Los Angeles

 (hereinafter at times collectively referred to as “California Class,” see Exs. A and B, orders

 granting class certification).
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         2.     Recently filed pleadings in this matter (see below) seek to subsume the California

 Class, thus substantially reducing (or effectively eliminating) Defendants’ ultimate liability to its

 members while increasing proposed class counsels’ fees, to the detriment of the California Class

 and its counsel. Stated otherwise, the interests of the California Class are not being adequately

 represented in this matter and short of intervention, proposed Intervenors cannot protect their

 interests.

         3.     The recently filed Motion For Entry of Proposed Preliminary Approval Order of

 Class Action Settlement [Doc. No. 189], Motion for Preliminary Injunction Enjoining All

 Pending Proceedings Filed Against Defendants Nationwide Pending Approval of Proposed

 Settlement and Permanent Injunction Enjoining All Collective Action Members Who Opt-In and

 All Rule 23 Class Members Who Do Not Opt-Out from Filing New Lawsuits or Claims Relating

 to the Settled Matters (Unopposed) [Doc. No. 190], and Settlement Agreement [Doc. No. 192]

 adversely affect proposed Intervenors’ rights because, read together, they purport to enjoin the

 California Class from continuing to prosecute their claims, while forcing their members to

 become part of a settlement which is patently inadequate to compensate them, let alone a class as

 expansive as that sought to be certified herein. As such, proposed Intervenors have a direct and

 substantial interest in this litigation which should be protected.

         4.     Counsel for the proposed class and defense counsel herein have embarked on a

 calculated course to keep proposed Intervenors’ counsel in the dark by refusing to share

 information, filing key pleadings under seal and falsely asserting that this case does not include

 the California Class. The recently filed pleadings establish otherwise. Indeed, the motion for

 preliminary injunction falsely asserts “[t]he parties hereto have entered into a settlement on a

 nationwide basis” [Doc. No. 190 at 3, emphasis added]. Furthermore, the Settlement Agreement

 defines the class to include “all Entertainers who Performed at any Déjà vu-Affiliated Nightclub


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 identified on the attached Exhibit A….” The referenced Exhibit A, items 2 and 4 identify the

 defendants in the California Class. Notwithstanding, counsel for the California Class was not part of

 the alleged settlement negotiations and provided no input (e.g. the value of the California Class

 members’ claims). As such, the California Class’ interest is not being adequately represented.

           5.    To the extent counsel for the proposed class has or intends to communicate with

 members of the California Class (e.g. notify its members of a proposed settlement), this would

 violate ethical duties because members of the California Class are represented by counsel.

           6.    For the reasons stated above and in the attached brief, proposed Intervenors

 should be granted intervention pursuant to Fed. R. Civ. P. 24(a)(2) (intervention by right) or (b)

 (permissive intervention). Additionally, this Court should refuse to enjoin the California Class

 from continuing to prosecute its claims until such time that it is allowed to intervene and be

 heard on this issue.

           7.    Pursuant to LR 7.1(a), concurrence in the relief requested herein was sought and

 denied.

           WHEREFORE, proposed Intervenors pray that this Court grant their motion and that

 Plaintiff class members in Arfat, et. al. v. Coldwater, LLC, d/b/a Déjà vu of North Hollywood,

 No. BC367362, Superior Court, County Los Angeles, and Hills, et. al. v. HDV #3 and Cathay

 Entertainment, d/b/a Déjà vu Showgirls City of Industry, No. BC385610, Superior Court, County

 Los Angeles be allowed to intervene.




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                                    Respectfully submitted,


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                                    of themselves and as Representative Class Members
 Dated: November 3, 2010




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 JANE DOE, individually, and on behalf of all
 others similarly situated,
                                                Case No. 2:08-CV-12719
               Plaintiff,
                                                Honorable Stephen J. Murphy III
 v.                                             Magistrate Judge Michael J. Hluchaniuk

 CIN-LAN, INC.; DÉJÀ VU CONSULTING,
 INC.; and HARRY V. MOHNEY,

             Defendants.
 _________________________________________/




                    BRIEF IN SUPPORT OF MOTION TO INTERVENE
                    ON BEHALF OF PLAINTIFF CLASS MEMBERS IN
                      CERTIFIED CALIFORNIA CLASS ACTIONS
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                      STATEMENT OF ISSUE PRESENTED


 I.    SHOULD THE PLAINTIFF MEMBERS OF THE CALIFORNIA CLASS BE
       ALLOWED TO INTERVENE (BY RIGHT OR PERMISSIVELY) IN THIS ACTION
       SO TO ASSERT AND PROTECT THEIR INTERESTS?




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                                             I.        INTRODUCTION

            Plaintiff members of the California Class seek to intervene to avoid having their pending,

 certified claims “settled” as a result of improper and, for the most part, secretive maneuvering by

 counsel herein. Proposed Intervenors have pending in California state court claims identical to

 those brought by the Doe plaintiffs against Déjà vu and the various entities through which it does

 business (hereinafter “Déjà vu”). Only through the persistent investigation of counsel for the

 California Class did it come to light that the parties in Doe have reached a tentative “nationwide”

 settlement purporting to swallow up the California Class claims. The maneuvering also involves

 attempting to convince this Court to enjoin the California Class from further pursuing its rights.

 Moreover, if approved, the proposed settlement will undoubtedly result an unlawful

 communication with parties whom counsel for the parties herein know to be represented by

 proposed Intervenors’ counsel.

            Equally important, the proposed gross settlement of about $11 million is not fair,

 reasonable or adequate to the California Class alone because the monetary component

 ($1,300,000) is a miniscule, claims made settlement and the remainder, an alleged coupon

 settlement, will result in no benefit at all. In contrast, one element of proposed Intervenor’s

 damages alone (misappropriated tip income) has a gross value of over $14,000,000. (See,

 Declaration of Stephen M. Harris, Ex. C ¶ 17 and Ex. 10)1. The danger to the California Class is

 real and imminent, as proposed Intervenors seek to avoid being bound by a settlement which

 their counsel had no role in negotiating, is patently unfair on its face, does not advise class

 members of the certified classes of the significantly better relief available to them and benefits

 primarily the Déjà vu defendants and proposed class counsel.


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     References to exhibits following citations to Ex. C refer to numbered exhibits attached to Ex. C.


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         A.      Factual Background.

         Proposed Intervenors currently have two certified wage and hour class actions pending in

  California Superior Court against Déjà Vu. Exs. A and B. Plaintiffs in these two actions assert

  that the defendants, which provide nude, semi-nude, and bikini dance entertainment for

  customers, have misclassified their dancers as independent contractors, have failed to pay the

  dancers appropriate compensation, and committed other wage and hour violations related to

  requiring dancers to share tip income. Plaintiffs in the instant action have filed an essentially

  identical, competing action, but have failed to advise this Court of the status of proposed

  Intervenors’ certified class cases, and have purported to settle this case inclusive of proposed

  Intervenors’ claims, intruding upon the attorney-client relationship between Intervenors and their

  counsel of record. (Ex. C, ¶¶ 2-6 and 13-14 and Ex. 7).

         Arfat was filed in March 2007. In October of 2008, the trial court certified a class

  defined as all dancers who performed at Déjà Vu’s club in North Hollywood, California from

  March 2003 to the present. Notice of the pendency of the class was served on all class members

  and the opt-out period closed in March of 2010. (Ex. C, ¶¶ 2 and 4). The Arfat class is

  comprised of approximately 700 dancers (Ex. C, Exs. 1-3).

         Hills was filed in February 2008. In June of 2010, the trial court certified a class defined

  as all dancers who performed at Déjà Vu’s club in the City of Industry, California from March of

  2005 to the present. The Hills plaintiffs also contend that they were misclassified as independent

  contractors and that the club misappropriated tip income from the dancers. (Ex. C, ¶¶ 3-4 and Ex.

  4). The Hills class is comprised of 1,697 dancers. (Ex. C, ¶ 4.)

         Plaintiffs in the present action brought their own wage and hour putative class action

  against multiple defendants, including Déjà Vu, in Michigan in 2008. Counsel for the plaintiffs




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  in the Doe action also initiated a wage and hour class action against defendant Déjà Vu in

  California, Trauth v. Déjà vu, No. BC 427315, which was filed in December of 2009. Both the

  Doe and Trauth cases assert that Déjà vu has misclassified nude and semi-nude dancers as

  independent contractors and misappropriated their tip income. The first amended complaint in

  Trauth states that Trauth intends to exclude the North Hollywood club. (Ex. C and Ex. 7, ¶ 10.)

  However, the recently filed proposed second amended complaint in Doe reverses this decision.

  (Doc. No. 191.) Since the operative complaint in Trauth was filed, that case remained stagnant.

  On October 18, 2010, the parties in Trauth represented to the court that they expected Trauth to

  be “subsumed” into this case in the coming weeks. (Ex. A, ¶ 6, and Ex. 8.) Starting in June 2010,

  a series of sealed documents were filed in the present matter. (Ex. C ¶ 7.) At the same time,

  Déjà Vu became increasingly uncooperative with proposed Intervenors’ efforts to move the Arfat

  and Hills cases forward. (Id.)

         B.      Facts Relating to Intervention.

         In September 2010, after repeated attempts to make progress in the Arfat and Hills

  matters, proposed Intervenors’ counsel confronted Déjà Vu’s counsel regarding Déjà Vu’s

  attempts to stonewall proposed Intervenors’ counsel. Déjà Vu’s counsel admitted that Déjà Vu

  was in the middle of ongoing settlement negotiations with the attorneys handling this case,

  including Hart Robinovitch, who is also counsel in Trauth. Proposed Intervenors’ counsel

  immediately attempted to contact Mr. Robinovitch on multiple occasions regarding these

  settlement discussions with no success.     (Ex. C, ¶ 7.)   In late September 2010, proposed

  Intervenors’ counsel was able to make contact with Caleb Marker, another attorney in this case.

  Mr. Marker confirmed that settlement negotiations were underway, but stated that these

  negotiations did not embrace the claims of the California Class. Mr. Marker further directed




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  proposed Intervenors’ counsel to contact Jason Thompson, additional plaintiffs’ counsel in this

  case, for more details regarding the settlement talks. (Ex. C ¶ 8.)

         On October 6, 2010, proposed Intervenors’ counsel made contact with Mr. Thompson,

  who confirmed, for the first time, that a tentative settlement agreement had been reached with

  Déjà Vu and the terms of the settlement were filed under seal in this case. Mr. Thompson further

  conceded that the secret settlement terms embraced the state of California and, ostensibly,

  proposed Intervenors’ claims. (Ex. A, ¶ 9). Thereafter, on October 22, 2010, the settlement

  agreement in this case was filed with this court (Doc. No. 189) confirming the parties herein are

  attempting to subsume the California Class.           Efforts to meet and confer with counsel for

  Plaintiffs herein (and defense counsel) to obtain their consent to the intervention were

  unsuccessful. (Ex. A, ¶ 18).

         C.      Intervention Is Necessary and Appropriate To Prevent The Rights of
                 Proposed Intervenors From Being Compromised.

         The heightened scrutiny that the court must apply to class certification requirements in

  the settlement context demands that proposed Intervenors must be afforded the opportunity to

  intervene or obtain an order excluding the California Class from the settlement. Moreover,

  proposed Intervenors should be permitted to move to disqualify defense counsel and Doe’s

  counsel based on any improper communications with the members of the California Class. Also,

  if the court refuses to sever the California Class, proposed Intervenors must be allowed to

  conduct the arms-length discovery necessary to determine the true settlement value of this case

  and whether the proposed settlement is fair, reasonable and adequate as to the California Class.

  Based upon such discovery, proposed Intervenors will be in a position to make an informed

  decision about whether to:




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                 (1)     seek to exclude the California Class from the class for which certification

         is sought herein; or

                 (2)     seek to reopen settlement negotiations in the present matter to best protect

         the interests of and maximize the recovery for the California Class, to protect the fees and

         costs incurred by class counsel for the California Class and determine if a motion to

         disqualify proposed class counsel in Doe is necessary.

         The instant motion satisfies each of the requirements for intervention as of right. To

  allow plaintiffs to move forward with a secret settlement for a class that purportedly includes the

  already certified California Class contravenes procedure, fairness and ethical obligations.

                                II.   INTERVENTION AS OF RIGHT

          Fed. R. Civ. P. 24(a)(2), gives a party a right to intervene when it “claims an interest

  relating to the property or transaction that is the subject of the action, and is so situated that

  disposing of the action may as a practical matter impair or impede the movant’s ability to protect

  its interest, . . . .” To determine if a party has the right to intervene, the following factors are

  relevant: “(1) Timeliness of the application to intervene, (2) the applicant’s substantial legal

  interest in the case, (3) impairment of the applicant’s ability to protect that interest in the absence

  of intervention, and (4) inadequate representation of that interest by the parties already before the

  court.” Michigan State AFL-CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997) (citation

  omitted), see also, United States v. Michigan, 424 F.3d 438, 443 (6th Cir. 2005). Regarding the

  substance of the legal interest, courts construe Rule 24 broadly in favor of a party seeking to

  intervene. Id. at 1245-1246; see also, Grutter v. Bollinger, 188 F.3d 394, 398 (6th Cir. 1999),

  rev’d on other grounds, 539 U.S. 244, 123 S.Ct. 2411, 156 L.Ed.2d 257 (2003) (reiterating the

  “rather expansive notion” of interests sufficient for intervention). Regarding the impairment




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  element, the “burden is minimal” to show impairment of proposed intervenor’s interest.

  Michigan State, supra, at 1247. Finally, as to inadequate representation, the burden is again

  minimal -- showing that the current parties would not make all of the proposed intervenor’s

  arguments or that they have not appealed can suffice. Id. A proposed intervenor need show only

  the potential for inadequate representation. Trbovich v. United Mine Workers of America, 404

  U.S. 528, 539, n. 10, 92 S.Ct. 630, 38 L.Ed.2d 686 (1972). See also, Linton v. Commissioner of

  Health and Environment, 973 F.3d 1311, 1319 (6th Cir. 1992).

         Proposed Intervenors can satisfy each element.

         A.      Timeliness.

         As the Court is aware, much of what was filed in this matter was filed under seal.

  Therefore, it was virtually impossible for proposed Intervenors to determine whether, in fact,

  their rights were being undermined until the veil of secrecy was lifted on October 22, 2010 when

  the terms of the proposed settlement were disclosed. There can be no dispute that Proposed

  Intervenors acted promptly.

         Whether intervention is timely “should be evaluated in the context of all relevant

  circumstances.” Stupak-Thrall v. Glickman, 226 F.3d 467, 472 (6th Cir. 2000). A variety of

  factors are usually considered, including (1) the point to which the suit has progressed; (2) the

  purpose for which intervention is sought; (3) the length of time preceding the application during

  which the proposed intervenors knew or should have known of their interest in the case; (4) the

  prejudice to the original parties due to the proposed intervenors' failure to promptly intervene

  after they knew or reasonably should have known of their interest in the case; and (5) the

  existence of unusual circumstances militating against or in favor of intervention. Jansen v. City

  of Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990).




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                 1.     The Point To Which The Suit Has Progressed.

         In determining the timeliness of a proposed intervention, the Court should consider the

  intervention in terms of the context of the case, rather than measure any specific length of time.

  “The absolute measure of time between the filing of the complaint and the motion to intervene is

  one of the least important of these circumstances. See, Sierra Club v. Espy, 18 F.3d 1202, 1205

  (5th Cir. 1994) (noting, in the context of measuring the timeliness of a motion to intervene, that

  “absolute measures of timeliness should be ignored”). A more critical factor is what steps

  occurred along the litigation continuum during this period of time.” Stupak-Thrall v. Glickman,

  226 F.3d 467, 475 (6th Cir. 2000). The United States Supreme Court has long extolled that the

  propriety of intervention must be measured under “all the circumstances” of that particular case.

  NAACP v. New York, 413 U.S. 345, 366, 93 S.Ct. 2591 (1973).

         In the present matter, proposed Intervenors’ motion is timely. Until October 6, 2010,

  proposed Intervenors were unaware of the settlement. The Trauth case excluded the North

  Hollywood, California Club and proposed Intervenors were unaware that settlement negotiations

  were ongoing with Déjà Vu to settle California Class claims. (Ex.C ¶¶ 6-9.) In fact, one of

  Doe’s attorneys denied that such negotiations were taking place in September of 2010. (Id., ¶ 8.)

  Finally, on October 22nd the proposed settlement was filed with this court. [Doc. No. 189.] In

  light of these facts and in the context of this lawsuit, propose Intervenors’ motion is timely in

  that it seeks to intervene in advance of approval of settlement which involves an improper

  attempt to communicate with members of a certified class, without permission or consent of their

  counsel.




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                  2.       The Purpose for Which Intervention Is Sought.

          Proposed Intervenors seek to intervene to avoid having their outstanding claims settled

  without their consent, approval or participation, to sever their claims and to disqualify any

  attorney who has inappropriately communicated with the certified classes represented by

  Intervenors’ counsel. This is appropriate given the class certification orders already existing in

  the California Class and is certainly a proper purpose.

                  3.       The Length of time the Intervenors Knew or Should Have Known of
                           Interest.

          Starting in June 2010, documents in this case began to be filed under seal, preventing

  proposed Intervenors from being apprised of any potential encroachment on their claims. (Ex. C

  ¶¶ 6-9.) Relatively contemporaneously, counsel for Déjà Vu became increasingly uncooperative

  with class counsel in Arfat and Hills, but finally admitting that settlement negotiations were

  ongoing in this matter. (Id.) Repeated attempts in September 2010 to contact Mr. Robinovitch,

  counsel for Doe, regarding the status of these negotiations were rebuffed. (Id. ¶ 7.) In late

  September, Mr. Marker, counsel for Doe, advised Harris that settlement negotiations were

  ongoing in this case, but Mr. Marker stated that these negotiations did not include the California

  litigation. (Id. ¶ 8.)

          On October 6, 2010, Mr. Thompson, proposed class counsel, advised counsel for

  proposed Intervenors that a tentative settlement has been reached with Déjà Vu and filed under

  seal with this Court. Mr. Thompson confirmed that the settlement embraced claims in the State

  of California. This was the first time that Intervenors became aware that the claims of the

  California Class were in danger of being compromised. (Id. ¶ 9.) Thereafter, the settlement

  agreement was filed on October 22nd, and Plaintiffs unsuccessfully attempted to meet and confer




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  about intervention both before and after the settlement was filed. (Id. ¶¶ 12, 18.) The instant

  motion to intervene was promptly filed following these events.

                 4.      Prejudice to the Original Parties for Failure to Promptly Intervene.

         Given that proposed Intervenors only received the settlement agreement on October 22, it

  is indisputable that proposed Intervenors acted as promptly as possible. Accordingly, there has

  been no delay which would prejudice the original parties. Furthermore, the question of prejudice

  to the original parties focuses on whether there was any delay in moving to intervene, “not

  whether the intervention itself will cause the nature, duration, or disposition of the lawsuit to

  change.” United States v. Union Elec. Co., 64 F.3d 1152, 1159 (8th Cir. 1995). The parties in

  Doe have negotiated a secret settlement (only recently filed) which purportedly embraces claims

  already certified in the California Class. As such, to the extent any party herein claims prejudice,

  they alone are responsible.

                 5.      Unusual Circumstances Militating Against or in Favor of
                         Intervention.

         The parties to the Doe settlement acted with specific intent to deprive the California Class

  of its rights when they entered into a secret settlement purportedly encompassing California

  Class claims which was filed under seal so to prevent proposed Intervenors from learning the

  terms of the settlement until it had been approved. The Agreement extends the statute of

  limitations applicable to this lawsuit with the sole purpose of targeting proposed Intervenors’

  proceedings. [See Doc No. 192, ¶¶ 2.3, 3.15, 4.2.] Moreover, the Agreement is terminated

  unless Doe successfully stays all pending cases against Déjà vu and defendants have no

  obligation to sign it until ten days before final approval. (Id, ¶ 12.1 (d)). Doe now seeks to

  obtain rapid court approval of this deal without advising the court of the status of the certified

  California Class, all in an attempt to prejudice proposed Intervenors.



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         Doe’s counsel, Mr. Robinovitch, has attempted a like ploy in a similar case against

  Spearmint Rhino. (Ex C. ¶¶ 10-12.) Given the previous encounter with Doe’s counsel and the

  background of the efforts to conceal the threat to proposed Intervenors’ interests in this case, this

  case presents unusual circumstances militating in favor of intervention. Moreover, the existence

  of already certified class actions representing a much greater recovery for the class, and

  involving a preexisting attorney-client relationship, also strongly weighs in favor of intervention.

         B.      Intervenors’ Interest.

         In defining an “interest” within the meaning of Rule 24, the Supreme Court has noted that

  “[w]hat is obviously meant [by Rule 24(a)(2)] is a significantly protectable interest.” Donaldson

  v. United States, 400 U.S. 517, 532 (1971). Similarly, the Sixth Circuit has required a “direct,

  substantial interest” in the litigation which must be “significantly protectable.” Jansen v.

  Cincinnati, 904 F.2d 336, 341 (6th Cir. 1990); Meyer Goldberg, Inc. v. Goldberg, 717 F.2d

  290, 292 (6th Cir. 1983); Brewer v. Republic Steel Corp., 513 F.2d 1222, 1223 (6th Cir. 1975).

  In Michigan State AFL-CIO v. Miller, 103 F.3d 1240 (6th Cir. 1997), the court addressed what

  constituted such an interest on the part of the intervenor and determined that “[t]his circuit has

  opted for a rather expansive notion of the interest sufficient to invoke intervention of right. Id. at

  1245. See also, Bradley v. Milliken, 828 F.2d 1186, 1192 (6th Cir. 1987) (“[T]his court has

  acknowledged that ‘interest’ is to be construed liberally.”).”

         Here, proposed Intervenors’ interests are clear. The members of the California Class

  have claims which cannot be negotiated, compromised or settled without the participation and

  consent of their counsel. The tactics of the Doe parties in moving forward with the proposed

  settlement in such a secretive fashion underscores the pressing need for intervention at this time.

  The strong preference in favor of intervention is even more pronounced in the class action




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  context. The protection of the class is itself an important interest worthy of protection through

  intervention. United Airlines v. MacDonald, 432 U.S. 385 392 (1977). As each putative class

  member will be directly affected by the outcome of a class action, the preference for intervention

  becomes a virtual mandate.

         The seventh circuit recently reiterated the appropriateness of allowing intervention for the

  purposes sought here: “Class counsel, for instance, might settle claims for significantly less than

  they are worth, not because they think it is in the class’ best interests, but instead because they

  are satisfied with the fees they will take away. Intervenors counteract any inherent objectionable

  tendencies by reintroducing an adversarial relationship into the settlement process and thereby

  improving chances that a claim will be settled for its fair value.” Vollmer v. Selden, 350 F.3d

  656, 660 (7th Cir. 2003). Here, these comments are particularly appropriate, since proposed

  class counsel has in the past negotiated a deal which primarily confers upon them the benefit of

  an attorney fee award, while simultaneously negotiating modifications to an existing deal which

  were illusory, hostile to the class’ interests, and which diluted the benefits available to the class.

         Additionally, the fact that a class member could opt out of a proposed settlement does not

  change the strong preference for intervention. Individual claims in a class action are often too

  small to support litigation by a single plaintiff and asking a class member who is concerned

  about a settlement to opt out is tantamount to asking her to abandon her ability to pursue the

  claims at issue. Fidel v. Farley, 534 F.3d 508, 513 (6th Cir. 2008), citing Churchill Vill., L.L.C.

  v. GE, 361 F.3d 566, 572 (9th Cir. 2004) (“Because each objector's claim is too small to justify

  individual litigation, a class action is the only feasible means of obtaining relief.”). The class

  members and named plaintiffs in the California Class would be afforded little, if any relief, if




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  their only recourse in the face of the secretive settlement was to opt-out and pursue individual

  claims. Accordingly, this factor strongly weighs in favor of intervention by right.

         C.      Impairment Of Interest.

         “Proof of that the proposed intervenor's ability to protect its interest may be impaired in

  the absence of intervention-is not an onerous task.” Coalition to Defend Affirmative Action v.

  Granholm, 240 F.R.D. 368, 375 (E.D. Mich, 2006). “‘To satisfy this element of the intervention

  test, a would-be intervenor must show only that impairment of its substantial legal interest is

  possible if intervention is denied. This burden is minimal.’” Grutter v Bollinger, 188 F.3d 394,

  399 (6th Cir. 1999).

         As absent class members, named plaintiffs and class members in Arfat and Hills have no

  ability, save intervention, to contest the Agreement which purports to settle their claims, let alone

  ensure that the interests of the class are protected and their recovery is maximized to the fullest

  extent. Furthermore, proposed Intervenors have not had an opportunity to conduct discovery,

  object to the settlement and assess whether the agreement is fair, reasonable, and adequate or if

  counsel for Doe is acting in the best interest of the dancers in the Arfat and Hills classes. Forcing

  class members to be represented at settlement talks by counsel other than their own attorneys and

  being forced to settle claims already raised in their own class actions is clearly demonstrative of

  a gross impairment of interest.       In Hernandez v. Vitamin Shoppe Industries, Inc., 174

  Cal.App.4th 1441, 1459-1460 (2009), it was confirmed that once a class is certified (even

  conditionally) the class counsel becomes the attorneys for all the class members, and defense

  counsel or other Plaintiff’s counsel are prohibited from communicating with these class members

  since they are represented by another attorney. Herenandez states:

               We are not aware of a California state court that has directly addressed
         whether a conditional class certification triggers rule 2-100's “no contact” rules.



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         As respondents point out, a number of federal courts have found that the
         certification of a class triggers such rules. (See, e.g., Parks v. Eastwood Ins.
         Services, Inc. (C.D.Cal.2002) 235 F.Supp.2d 1082, 1083 [citing rule 2-100];
         Kleiner v. First Nat. Bank of Atlanta (11th Cir.1985) 751 F.2d 1193 & fn. 28
         [stating, based upon a model ABA rule analogous to rule 2-100, that defense
         counsel had “an ethical duty to refrain from discussing the litigation with
         members of the class as of the date of class certification,” since “class counsel
         represents all class members as soon as a class is certified”]; Resnick v. American
         Dental Assn. (D.C.Ill.1982) 95 F.R.D. 372, 378-379 [class certification barred
         attorney from communicating with absent class members under applicable Rules
         of Professional Conduct because “without question” absent members are
         represented by class counsel].) We conclude rule 2-100 was triggered by the
         court's conditional certification of the class here as well.

         Here, counsel for Intervenors is the attorney for all members of the certified classes.

  Thus, counsel for Intervenors has a substantial interest to protect as part of this intervention.

  Counsel for Doe and the defense attorneys in this case are actively attempting to subvert this

  relationship, without even bothering to advise the court of the status of the certified cases.

         D.      Adequacy of Representation.

         Finally, the fourth element requires the proposed intervenor to prove the inadequacy of

  representation by others who are in the case. Applicants seeking intervention bear the burden of

  proving that they are inadequately represented by a party to the suit at issue. Meyer Goldberg,

  supra at 293. This burden has been described as minimal because it need only be shown “that

  there is a potential for inadequate representation.” Grutter, supra, at 400. To meet this burden,

  “[i]t may be enough to show that the existing party who purports to seek the same outcome may

  not make all of the prospective intervenor's arguments.” Id.

         Here, proposed Intervenors raise a series of concerns about the adequacy of the

  settlement and the propriety of counsel in purporting to settle claims while the class members

  and named plaintiffs in Arfat and Hills were represented by their own counsel and had long

  certified class actions pending against defendant in another state. Moreover, the secret nature of




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  the accord raises serious concerns about a collusive settlement. The concerns raised above all

  justify intervention.

         Likewise, even a cursory reading of the proposed settlement discloses that the California

  Class’ interests have not been adequately represented. Given that proposed Intervenors need

  only to show that the potential for inadequate representation exists, it is clear that proposed

  Intervenors have met this burden. These justifiable concerns are addressed below.

                 1.       Intervenors Have Serious Concerns About Whether The Tentative
                          Settlement Agreement Is Fair, Reasonable And Adequate.

         In assessing the adequacy, fairness and reasonableness of a settlement agreement, the

  court considers seven factors to guide the inquiry:     (1) the risk of fraud or collusion; (2) the

  complexity, expense and likely duration of the litigation; (3)the amount of discovery engaged in

  by the parties; (4) the likelihood of success on the merits; (5) the opinions of class counsel and

  class representatives; (6) the reaction of absent class members; and (7) the public interest. Int'l

  Union, United Auto., Aerospace, and Agric. Implement Workers of America v. Gen. Motors

  Corp., 497 F.3d 615, 631 (6th Cir. 2007) (internal citations omitted).

         The tentative settlement agreement, which purportedly includes the settlement of the

  California Class claims, is not fair, reasonable or adequate. Instead, it is grossly inadequate, and

  is likely to result in a net benefit to the class of well less than $400,000. (Ex. C, ¶¶ 15-16.)

  Defendants are not bound by the deal, since they do not have to sign it until fifteen days before

  final approval, and can rescind if the court fails to stay even one of the other pending proceeding.

  [Doc. No. 192, Agreement, ¶¶ 12.2 (b) and (d).] Proposed Class counsel has not even been able

  to obtain a commitment from the defendants to comply with the settlement, thus raising serious

  concerns about its adequacy.




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          Moreover, the court has no chance to be involved in administering the coupon portion of

  the settlement, and the court was never advised that the claims being settled included those of

  two separate certified class actions. This refusal to advise the court of material information, or to

  involve the court in administration of the bulk of the alleged class relief, leaving to defendant the

  decision of how or whether it will effectuate the “coupon” settlement, speaks to its inadequacy.

  The settlement also contains numerous terms designed to discourage claims by threatening to

  1099 dancers when Déjà vu’s normal practice is not to do so. [See Doc. No. 192, Agreement

  ¶¶ 5.5.2, 5.6-5.9.]

          Moreover, the proposed notice does not advise the class members of the certified classes,

  and the availability of significantly better monetary relief in the Hills and Arfat cases. For

  example, dance fee revenue (an element of damages) exceeds $14 million in the Arfat case alone.

  (Ex. C, ¶ 17.) In Trotsky v. Los Angeles Fed. Sav. & Loan Assn., 48 Cal.App.3d 134 (1975), the

  settling parties did not inform the court or the class of the existence of a separate lawsuit. On

  appeal, the court reversed a judgment which had found the settlement, including the contents of

  the notice, to be fair and reasonable, finding the notice was not fair and reasonable to the class,

  and denied the court the option of allowing the other attorney to participate to the benefit of the

  class. Id. at 151-152.

          Here, the settlement was reached without the involvement of proposed Intervenors.

  Intervention should be permitted due to the serious inadequacies of the settlement. Moreover,

  intervention should be permitted to allow the court to address the Doe parties’ questionable

  methods and behavior before it.

                  2.       Serious Concerns Exist About Proposed Class Counsel.

          The adequacy of class member representation turns in part on “the competency of class

  counsel” and in part on the absence of “conflicts of interest.”         Int'l Union, United Auto.,


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  Aerospace, and Agric. Implement Workers of America v. Gen. Motors Corp., 497 F.3d 615, 626

  (6th Cir. 2007), citing Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 n. 13, (1982). Proposed

  class counsel does not meet the standard requiring representatives who “will vigorously

  prosecute the interests of the class through qualified counsel.” Senter v. Gen. Motors Corp., 532

  F.2d 511, 525 (6th Cir. 1976). If anything else, proposed class counsel herein have demonstrated

  a substantial disregard for the rights and interests of the California Class members and the

  sanctity of the relationship and privilege between them and their counsel. Moreover, the

  inadequate settlement terms and the refusal to forthrightly advise the court of the California

  Class, also cast serious doubt on the adequacy of class counsel.

         Proposed class counsel in this matter is known to Intervenors’ counsel, and recent

  interactions with Mr. Robinovitch have taught proposed Intervenors’ counsel to doubt that

  proposed class counsel are competent to represent the class. (Ex. C, ¶¶ 10-12.) Moreover, the

  conduct of proposed class counsel raises grounds for their disqualification as attorneys for the

  class since they have attempted to negotiate and settle claims of parties they know to be

  represented by counsel in California.

                 3.     Intervenors Have Serious Concerns Regarding The Proposed Fee.

         The Court has a duty to ensure that any fee award is appropriate under Fed. R. Civ. P.

  23(h) and as explained in further detail in the Advisory Committee’s notes.            Proposed

  Intervenors harbor serious concerns about whether the fee proposed in the settlement is fair or

  proper. (See also, Manual For Complex Litigation (Fourth) (“Manual”) § 21.71 at 336 (2006)

  (“Compensating counsel for the actual benefits conferred on the class members is the basis for

  awarding attorney fees.”) Indeed, the Court may award fees to counsel other than class counsel

  or to objectors who “provided services that contributed to an increase in the common fund




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  available to a class, that aided the court's review of class-action settlement, or that otherwise

  advanced the interests of the class or assisted the court.” Manual, § 14.11 at 186.

          The concerns regarding the proposed attorneys’ fee justify intervention as well. Proposed

  Intervenors have concerns that the fee request is disproportionate to the terms of the agreement.

  Proposed Intervenors seek the right to conduct arm’s length discovery regarding whether

  proposed class counsel should be disqualified from representing the class in light of proposed

  class counsels’ conduct. Furthermore, proposed Intervenors’ counsel has spent over three years

  diligently and faithfully prosecuting the claims of the Arfat and Hills classes and has invested,

  together with co-counsel, approximately 2,000 hours in both cases combined and has born the

  burden, together with co-counsel, of over $100,000 in costs for both cases. (Ex, C ¶ 5.) To the

  extent that the Court approves the settlement of the Doe matter or a revised settlement in the Doe

  matter, the efforts of proposed Intervenors’ counsel have substantially helped this matter proceed

  to settlement and have been a catalyst to any such deal. Accordingly, proposed Intervenors’

  counsel is entitled to be compensated for the fees and costs spent litigating the Arfat and Hills

  matters.

          Intervenors have met the minimal burden of showing that they are entitled to intervene as

  of right, especially since courts construe liberally the rule governing intervention as of right and

  in favor of the proposed intervenor. Martin v. Correction Corp. of America, 231 F.R.D. 532

  (D.C.Tenn. 2005). Therefore, Intervenors respectfully request that they be allowed to intervene

  in this action to protect their rights and their claims.

                               III.    PERMISSIVE INTERVENTION

          Proposed Intervenors have presented sufficient arguments for the Court to grant

  intervention of right in this matter. However, should the Court find that the facts do not warrant




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  an intervention of right, the Court should grant permissive intervention. Rule 24(b) grants the

  district court discretionary power to permit intervention if the motion is timely, if the applicant's

  claim or defense and the main action have a question of law or fact in common and if

  intervention would not unduly delay or prejudice the adjudication of the original parties' rights.

  Fed. R. Civ. P. 24(b)(3); United States v. Michigan, 424 F.3d 438, 445 (6th Cir. 2005). The

  Court should exercise its discretion to permit intervention because the motion is timely, the

  claims of the California Class and those stated in this case are virtually identical as are the

  defenses and intervention will not unduly delay the adjudication. Indeed, any delay has been

  caused by the parties desire to settle claims which they had no business resolving.

                                       IV.     CONCLUSION

         For the foregoing reasons, proposed Intervenors should be allowed to intervene.

                                        Respectfully submitted,

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  Dated: November 3, 2010




                                  CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document with the United States

  District Court for the Eastern District of Michigan and upon all opposing counsel using the

  CM/ECF system which will send notice of its filing to all counsel of record.



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                                               on behalf of themselves and as Representative Class
                                               Members




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